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Evhibit 1

EVEREADY-SERVICES.
TRUCK ASSESTS

"1.2004 Mitsubishi Buse FM260, VIN; YLEDEM1B04K008296; 24° Stipteme Van Body;
‘Gyim Floor; ‘Wood:Slat Walls: Hydéaulic Lift Gate: 132,635 Miles. D(C AALEC-WM ET R
2, 2007 Mitsubishi Fuso-FM260; VIN. JL6DHM1E07K007029; 24° Shpreme Van Body;
Gym Floot;, Wood ‘Slat. Walls; Hydraulic Lift Gate; 212,650 Miles
N? 3. 2004 Mitsubishi Ftigo FH-SP; VIN, JL6CCJ1G44K008089; 20° Supreme. Van Body; Gym:
‘Floor; Wood Slat Walls; Hydraulic Lift Gate; 144,834 Miles 0 (+ ARLEY MEE
4™ 2007 Mitsubishi Fuso FM260; VIN. IL6DHM1E97K004212; 24° Supremé Van Body;
“S Gyn Floor; Waid Slat’ Walls: Hydraulic Lift Gate; 265:813 Miles O'S AAL Ev -TEAd¢
5. 2004 Mitsubishi Fuso FH-SP; VIN. JL6CCI1GO4K000605; 20° Supreme Van Body; Gyn
Floor; Wood Slat Walls; Hydraulic Lift Gate; 141,623.Miles
6, 2005 Mitsubishi Fuso FM260; VEN. ILGDGM1HN5SK009749; 24° Supreme Van Body’,
Gyin Floor; Wood Slat Walls;Hydraulic Lift Gate; 214,153 Miles

ele eng nS
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BACK |Supporte 2°x 4" x2” ~ 28 Art Storage (Warehouse) [ESI
RACK [Upright 8x 4’ 4l Art Storage (Warehouse) ESt
RACK |Beams3'"-4"a islArt Storage Large ES{
RACK Decks 1/2” paiticle Board as _S|Art Stotage large: | ES)
RACK’. |Panels, stee] perforated 5p Art Storage: Large ESI
RACK _ |Supports 2''x.4".x.4? -S2jArt Storage large. LEST
{RACK {Upright'8' ¥-4" 6 {Art Storage-lufge ES
RACK | [Beams 3! 4"x.8" 124|Sed/ Mattress Rack ES}

‘Deeks 1/2" particle board 4¥8

| Bed/Mattress Rack:

Supports 2""'4" x 4"

512| Bed/iMattress Rack

Fire Extinguisher

Delivery Office,

iff _ [HP Color. Lasariet Printer Delivery Office ‘ESL
VT Network’Switch, Netgear. 5-part- Delivery Office BS!
APPL | Walter bottle. stand, Betas Dockseo JEST
EQUIP |Dotk Plate Decks 8-9 jes)
EQUIP. | Dolly; 4-wheel Docks 8-39 TES).
EQUIP _| Bolly, Bilie.4-wheel cart’ Docks 8-8. JES.
EQUIP. [Dolly;. Plastié- Workcart Docks.820: ES.

Dustb}n, lorig-handled lafge_

Dodks 8:9:

{RACK {Upright Tet x4" 24|Bed/Mattress-Aack ESI.
APPL | Freezer, reach-in- 1. }Boxing/Packing-Area ESI
PPL [Refrigerator _t{Boxing/Packing Ared. Est"
EQUIP _|Scate, vid. flpoy scale- L|Boxing/Packing Area. IES!
FURN JTable, Boxing/Racking L{Boxihg/Packing Area. esl"
RACK |Beams3"-.4"'% 8" i. "_ 4|Boxipp/Packing Area —_[ ESI
RACK  |Decks-1/2” particle board aa 2|Boxing/Packing:Area TESI
RACK. |Supports 2x4" Na _8[Boxing/Packing Atea ESI
RACK “Upright! x4 ~ “2 Boxing/Patking Area ESI
EQUIP [Mop bucket w/Mop _. 4\ Break Restroom. TEST
EQUIP |Waste Bin, Blue round:on casters. | Brdak Resttpom: Est
FUBN |Table; stnall side rable 4\Break Restroom ESI.
EQUIP [Waste Bin, black syuare w/lid. ° i/8reakRogm ESI
EQUIP [Waste Bin, blué-square:recyciing w/lid. 2| Break Room _|ESi
FURN . |Table; boat-shaped coriference'table “‘L|Break Room: TES)
FURN  [ Chatr, feather blue 11 Delivery-Office ES!
JE (ARCUPS 2|Delivery Office ESI.
WT jClock, Atamic __.1|[Delivery:Dffice ESI.
YT Dell:Computerceu, Targe/old 1 Delivery Office ESI.
VI Dell Computer CPU, sriali/new Tf BellvernyOfiter ESE.
VT Pall Moniter, medium/old “t Delivery Office: ESt
VE {Dell Monitar,.srnall/old “1[ Delivery Ciftce JES!
UF Dell-Mioniten.widesrew_ '_ 2} Delivery Office. ESI
3
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Docks 8:9 ARSE
Dotks'8-9. ESI
Docks 8-9 __|€sf.
Deitks-8-9 _ fest
Docké-2-5 . fest
Flle'Raont {ESE
File-Rooin_ ESI.
File Room ES}
File Room ESI
File. Room ___ jest
File Room FEST
File-Roer ESI
Kellys Office, ESI
Kelly'sOffice «LES.
Kellys Office. — __ {ESI
‘Kelly's Office {ESI
Kelip's-Office ‘BSI
Kelly's Office ESI
Kelly's Office. _ ES!
Kelly's Office’ __tESL
Kelly's Office: {ESI
Kelly's Office. ESI
Kitcheri. [EST
Kitchen SSI
Kitchen. [ESL
Kitchen. {ES
Kitchen ES!
Kitchen ES)
Kitchen ESI
Kitchen BS
atchen JES!
Lobby” ESt
Lobby- _. ESI
Lobby: fest:
Lobby _ {ESI
Lobby: __.fEST
Lobby Jest
Lobby: __._{&s!
Labby €3!
Lobby ESL
Lobby: es
bobby SESE

EQUIP [Gandola> corrugated 2'x 2! x 4! {Delivery} .
Equip {Noble givorScrubber
EQUIP {Safety Straps, sets __
EQUIP [Waste Bln, Blue roungon casters.
SPORT: [Basketball Backboard
FURN | Credefiza, ‘traditional. wood
TFURN {Rife Cabinet, S-drawer lateral
FURN jFile’Cabinet,4-drawerJateral
EURN {Shelf Steel wite’Metro.w/castes (xParravano} |. |
FURN' [Table,5'w/Foldirplegs ”
IAT. [Dal Gomputer EPU, Jarge/old
WT | bell Monitdr, mediuni/ola:
ACCESS [Chalr, BlackLeatherchair
AGCESS'/Dask accessgry sorter gray.
ACCESS | Desk-atcessory trays; grey
FURN. {File Cabinet,.locRing
FURN (Sofa, blue
Wr Dell Compiiter CPU,.small/new
YT: (Dell Monitor, 24°
iF HP-Color'Lagetlet Printer
1WAT__jSpeakets, 2:flat panels.w/sub
VT [Speakers).togitech
TAPPL  [CoffadGrinder, Breville
APPL, {Coffee Maker, KitchenAld
JAPPL }Microwdve, Emérsdh
4APPL  [Nichowave, Kenrioré
JAPEL Refrigerator.
APPL {Water dpttle stand, 4-cap-
APPL |Water Cooler -

wip. |Wasts-Blh, bleck. square wid

| “[Tatite, systent ftture

[ACCESS [Desk accessory trays, black
ACCESS. |Desk.accéssory trays, gtey:
EQUIP” [Rire Extinguisher

FURN. [PrinterTablé

ft APC URS

VT __ [Dall Gonputer CPU, small/naw.
I/7T | Bel} coiriputer spegkers, pair:
(/T Bell Menitor; widef/iiew’
iT [HP Multifunction printer

fT Pitney Bowes Postage Métet.(Ledse)
vt. VOIP’ Rhone.

es Pes fei fies be [i fades | fading |] es] es feo beds pee fee feo pes |e lee ee [pd esti doi iad [eo feadie fe [ding fie fet foot fet,

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zxehibt (Al

[Air Conditioner APC portable

1|Machine-Room

APC UPS.

4| Machine Room.

APC'UPS, Black

i|Machine Room.

"-19e@ll Monitér, schall/old

2\Machine Room.

Defl:Server

“tlMachine Room

Router, Peplink

Aj Machine Rdom’

. | Shelf, Steel wire Metro’ w/castess.

“Ti Mathine Reon

|Switch, Netkear PGE

iii Machitie Rooni

_[Dolly, Appliance

“2lNorth Wall Storage

' |Dolly, Blue:2-Mattress

1jNorth: WallStorage

Qoily; Orange flat-deck:

“AINorth Wall Storage _

* |Dolly, Stee! handtrick |”

Ai North Wall Storage:

Golly, “Wheel Dollies Geep).

“alNorth Wall'Storage _

Ladder, Wermer Extetision (Atuminud)

'2| North; Wall Storage.

Ladders, Werhar 10" Flberglats

Zi North Wail’storsge:

‘Rack, Chandelier.

North WallStokage:

| Rack, Glathing/Chendelier

Shelf, Steel wire Metro{Baby Dog). |

North Wall Storage:

|Table, 5° w/Folding legs

'2| North Wall’ Sterage:

Table; 8' W/Folding legs:

_ 2 North Wall Storage

Basketball Backboard.

Bookshelf ..

“a}No#th Wall Storage:
LIRDis Office. .

~|Chatr) wood armehalr

|Credenza, traditional wood

1} RD's ‘Office.

}Désk, traditionalwood

4IRD's Office

Table, black side table

RO's.Gffice.

iGanon‘Digita) Cameta

URD's Office

Dell ‘Corr puter CPU, smali/new

RU's:Offite

Dall Monitoe; wide/rew

TIRD's‘Office-

HP €olor LaserJet Printer

1|RO's Office’

Beards 3°=a" jeB"

1
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a
2
-2| North Wall’Storage.
5
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L
ag

a8|Reheatse/Record

Decks 1/2" particle board 4x8

| Rehearse/Record

[supports 2x 4x4

Rehearse/Record.

Upright S°x 4".

Beamsa' 4° x8"

9
6
i/Rehearse/Record
2

Rowal-2

Beams 3". 4° x8"

Téa) Row. 2-2

Decks 1/2" partlele boart-4xe

2] Row 1-2

“| Detks 1/2" particle board 4x8

72) Row.1-2-

Stipports.2"x 4" xa"

Bi Row1s2:

Supports:2"%:4" x4"

288] Row. 1-2

(Upright 12's"

24} Row 1-2°

Upright. 8 ty gi

Z| Row 1-2

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laxhib? fo]

RACK  |Béains3"- 4" x BF! ‘144 Row 1042" EST
RACK . [Decks 1/2" particle board-4x8 | Row 14-42. | {ESL
RACK |Supports-2e4? x4 _ | 288]Rew 11-12 . ‘TESt
RACK —|Upright 12'x.4° 24)Row T1-12 TEST:
RACK _ |Beanys3°- a" ya! LdajRow 33-44. ESI
RACK, [Decks 1/2"-particle- board 4xq |. 72 [Row 13-14 ESI;
RACK. JSubports 2"'x 4" » 4° | -288tRow 13-14 ESL
[RACK _|Upeigne tz. _ | 2aiRow'1s-14 «CSI
RACK  [Beams.a"- 4x8! | 408]Row 17-98 {Es
RACK _|Decks’4/2" particle beard 4x8. — BalRowAFIS TES!
RACK: |Supports2"k4"x4! ~_ [216]Row47-18 | “Tesi
RACK |Uprighta2'x4o 1. 16{Row 17-18, "TES!
TRACK _ |Bearns $°--4" x8! ___| 108}Raw 49-20 | LES!
RACK {Decks-1/2" particle board 4x8 ~ “BalRow 19-20 ES)
TRACK [Supports.2"% 48 eq | 276jRow 19:20 ESI
RACK [Upright 22! x4? | 16lRow.19-20 ESI.
EQUIP |Ladder,-yellow warehouse fader’ “ SIRew 21-22" ESI.
RACK: |Beams3%-4"x%.3' _._ {4 -40[/Row-21-22 ESI
RACK ‘1Decké-1/2" particle board: xB ° "16 RGW 21222  TESt
RACK  [Sudports-2°x.4! x 3" 64| Row 21-22 _,_tESI
BACK  |Uprigiit £2°xa! , | fajRow 22-22 | ES
BACK [Upright 8‘ x 4” alRow 24-22. ESI.
RACK |[Beams'3"-.4" xa? 64fRow.23-24 “ Es!
RACK {Decks 1/2" partigleboard 4x8 | B2tRow 23-24 Esl
RACK appOtts. 2"4" x 4! 128] Raw 23-24 ES}
RACK: [Upright 12° x 4" 412}Row.23-24 Tesi
EQUIP |Dolly, steel handéruck . — ARow.25-26 . ‘TESE
EQUIP” |Lift Back; 8. Yellow w/Safety falls ba Rew 25-26. ES|
a EQUIP |Lift, Raymond Order Picker: . 4 tlRave25-26 _ TES!
RACK [Beans 3°='4!"8" __ “‘B4iRow 25-26 _ FESL
JRACK [Deeks 1/2" particle board-4x8: “| -42iRew-25-26: JES:
RACK  [Supports'2a" k 4! | 168 ROW 25-26. JEST
ACK  [Upright12! 4° . SiBow:-25-26' S|
RACK. [Beams 3- 4x8 . oe 1 84| Row 27228: ESI
RACK |Decks 1/2" particle Podrd. me | +421 Row-27-28. ESI
TRAGK [Supports 2% 4x4 “*_§ ¥68|Row 27-28 . TESI
TRACK _ |uprighi2!x 4! BlRow 27-28. est |
EQUIP |Dolly, Jarge4-wheel furniture’ LU Row:29-30 _ best}
= (EQUIP [Lift Raymond-Order Picker _ ajRow'29-30 ss SL
RACK. 'Beams’3"- 4x8" _ .B4l[Rew 29-30 ES)
RACK [Decks 172* particle board 4X8 . 42] Row 29-30, LEST
TRACK — |Supports.2"x- aR ae | 268)Row.2%30°° — TES)

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Exh bit {|

RACK [Uprightiz'x4'. “, ~T -3]Row 29-30. Est
BACK iSeams3!-4" x8! | a . ZiRow's-4 0. EST
RACK {Beans 3°-A°x St | : | |.adétRow 3-4 [Est
RACK. |Decks 1/2) particle board: 48 | BROW Sst
RACK |Decks.1/2” particle board 4x& _|_F2;Row 34 _ _ [ESL
RACK. [Supports Bit 4¥ x34" | .BiRow 8-4 ESI:
{RACK [Supports 2"*.4? x4" __ | 288] Row 3-4 ~—_ fESI
RACK |Unright’12"x 4 ‘24|Row-3e4 ~ LESE
RACK |Upright-s' x4! / , _ 2] Row'3=4 [ESE
EQUIP |Tablé, 6! Felding top B.folding ees tT Row 31-32. les).
JRACK [Bann 3-4" xa -84|Row-31-32- ESI
RACK [BedmsS" 4" x@ 4{Row3t-32 FSI.
RACK [Decks 1/2":particleboard 4x8 | 42 /Row 8432 ES!
RACK | |Deécks.1/2" particle board:-4x8  2Row 31432, ESI
[RACK._||Supports:2"x.4" %a" ___ | 468] Row 31-32 [ESL
RACK |Supriosts 24" aa! | .8|Row-37-32- esl
RACK. [Upright 12)x 4! a Bl Row 33-32 ES)
RACK [Uprighte'x4" 2|Row 3232 Es!
RACK | Beams 3'- 4"x2! . 2] Row-5-6. EST
RACK  |Bedms3'-4" x : | 344fRow 5-6 . ES]
RACK {Decks 1/2“partideboard 4x8 , ‘Z{Row.5-6 {Est
RACK  |Decks:1/2" particleboard 458: 1 22|RowS-6 | ___ ESE
TRACK _ |Supports.2".4"'2.4 “| 8/Row 56. ESt
RACK _ {Subports-2"x-4" x 4! 288|Row 5:6 Est
RACK |Upright12%%4' _24/Row 5-6 ESI
RACK _|Uprights' x4" _. | 22 {Row 5-6 Jest
|RACK [Beanis:3"~4" x8 | FAG Row. 2-8 ESI
RACK [Decks 1/2" particle board 4x8  72lbow 7-8 , esl
RACK |Supporis2"s34" x4" | 288Row7-8 = «=—s—sSEST
JRAGK (Upright a2!2-4" oe | 2a Raw 728 __ FESH
RACK “|Beams 3"-4"'x 8! | Ta] Row 9-10" ESI
RACK {Decks 1/2*partiele board 4x8 T 72{RowS3i00 Es/
RACK _JSubparts 2% 4"-x 4’ __. fossfRow9-0 iS
BACK [Upright 12! x4 _ _ | 2a Row 9510. "JES
RAGK [Bears 3 4! xh 48| Bug A: —_FESt
RACK |Dacks:.1/2" particle Hoard:4x8 st aie A [ESI
RACK. [Supporis2*xa x4 S6[Ruz A JEST:
RACK  |Vpright 12"%.4" oo | btRug’A, “ ESI
RACK ‘|Beagrng3"- 4/8! st -A8RugeB: ESI
RACK [Decks 1/2"-particle board 4x8 ~ 24{Rugh {Est
RACK _ |Suppotis 2x 4" x4’ inset ictaninee ne RUE ____ JEST
RACK [Upright.12?x 4" al. _S{RVE SB , FES

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[Zhi bt fa {

JEQUIP’

\FloorSqueegies.

South Wall Storage

Tesi

EQUIP:

Ladder, Exteasion-(Aluminum)

South Wall Storage

ESI

EQUIP.

Eadder, Warmer 12! Fiberglass.

South Wall Storage.

JEST

EQUIP

twdder, Werner ss’ Flberglass

Squth Wall Storage

ESI

Ladder; Wood 12" |

South WallStorage*

JES)

EQuie®

laiders, Werner 10‘ Fiberglass _

be [rates feeder fun |:

South Wall Storage

ES!

RACK.

Beams 3" 4'°x:8'

a 50

South Wall Stofage

TEST

RACK.

Beains:3"- 4" i! (eytra)

South WallStorage

‘ESI

RACK.

Decks.1/2" pasticle board.4x8:

South.Wail Storage

JES}

RACK

Uprights" 4!

{27

South Wail Storage

TES

EQUIP

Dolly, Raymond Pallat ‘Jack

Staging.

{ESE

EQuIP

Lift.Charger™

Stagg

TES!

EQUIP

Lift, Beck, 8° Black w/Salety ralls

Staging’

tes

[EQUIP

Dally, 2 large 4-wheel furnitare

Supply Area

+ESI

EQUIP

JOofly, Carpeted Act Cart,

Supply Area, _

TESI

Faure’

Dollyjsmall Mitwaukee 4.whdel.ddliy

SUpBiy Area .

EOUIE

Ladder, 8 Aluminum.

Supply Area

EQUIP”:

Ladder, Gorilla’

Supply:Aren

FES!

JEQUIP

Mover's straps, pair,

SupplyAréa-

got

jequre

jParts‘Bins-w/Shelves

Supply.Area

EQuiP

Shop-Vac, Rigid

Supply Areg

EST.
TEST

EQUIP.

Water coalers, portable

Supply Ares

ESI

[FURN

Supply Are.

FURN

Table. S'w/Polding legs -

jFable; 6' Folding top-& folding legs.

Supply Area.

ESI

FURN

Table, & Folding wolding legs.

Supply Area.

ES!

[Fura

Table, 6 w/folding legs (white top)

Supply Area

ESE

URN

Fable; 8! w/Folding legs.

Ji [| na | nef fee fro fee ee feo fee fea Ln fies fra tine

Supply ates:

ESI

RACK:

Bernd 3". 4" 8

3|Supply Area.

[Race

Detks 3/2" particle Board 42

[Supply Afea

ESI

[RACK

|Bolly; Blue wheel cart,

Supply Ares

ESI

RACK"

_|Dolly, Heavy-daty.nans!:

Supply Area

_ {ESE

RACK.

Gondola  cofrugsted’2' k2'x.4! (Delivety)

supply.Area

fest]

RACK

: Upright.8'x.4" .

Supply Aréa

ESI

APPL,

Heater, heated fans:

2) Warehouse Offica.

APPL

Water ecole

i|WaréHalise Dffica

ES]

IFURN

Chair, misc desk qhairs:

Warehouse. Office:

ESI.

FURN

Chait, steal stacking side chairs

2|Warebouse Office _

ESI

iFURN

‘Desk, long. black lantinate

ES!

IFURN

File. Cabité; black lateral

1) Warehouse Office:

JEL

fe

Brother-MFE leserprinter

ESI

vt

Dell’Computer.cPu, large/old.

“1|Warshouse Office

2
1
2
2
“2|Werehouse Office.
iL
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1

E5i

ft

Primera Label Printer —

1] Waréhouse Offlte

J ESt

mee wien Cinemark wears ates ure pues une. ae

JESL
ESI

ES:

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rete nue

meee, Met

Pome ne it teayme tine tr Cori ome

tz =A uh

. [DVD Player; Panasonic.

Break Room

Be

“RE

IGoridola. ~corrugated 2° 1'x

(2 [Bed/Wattress Rack

presi |

Mirror, framed —

Delivery Office

PEST

is EQUIP

laddec, Kozelsky Aluminarh

des

[Seuth Wall Storage

FURN:

. tS vhecsttins ile we

Chair; Herman Miller Aeran

Est

Allan's Offige

ESI

{FURN

Mat, fldor chair mat:

i
Allah's: Office
= .

ESI

TEQuIP”

| Gondola - cortugated: Z) 2 x4

ALArt Room |

ES!

RACK

Beams.3™ a" x8 3

“| defart Room

ESI

BACK

iDatks 7/2 particle board-4x8-

“SIArt Room.

EST

RACK

Supports 2°x 4" «at

. 32tArt Roohy

ESE

[RACK

UprightaeA”

-B{Art Boon

‘Test

RACK.

Beams:3"-4" xg!”

Al Art Storage Ware house)

EST

RACK.

‘Tart: Storage iWerehouse):

ESI

qheterintan twee Ce ee

Desks 1/2" particle board 4x8. _

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it. [Primera Gobel Punter
Vr__|Switch, Netgéar $-yort
FURN |Table, small'drapéd

WarehouséOrice [ESI
Warehouse Office _ (ESE
Women's Restroont {ESI

PT teers eee

Pht PE

Hrs

ep anmeatonterrel
sera aca

ar ee pee tee dete ae
